Case 2:09-cv-06244-WJM-MF           Document 18       Filed 02/18/10     Page 1 of 2 PageID: 65




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 Attorneys for defendants ProAssurance Corporation,
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 Indemnity Company, Inc.


                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

 EMERGENCY PHYSICIANS OF ST.                        Civil Action No. 09-cv-6244-WJM-MF
 CLARE’S, LLC, MERCER BUCKS
 ORTHOPEDICS, PC, and PASCACK                       NOTICE OF MOTION
 EMERGENCY SERVICES,
                                                    Motion Date: March 15, 2010
 On behalf of themselves and all others similarly   Oral Argument Requested
 situated,

               Plaintiffs,                          [Filed Electronically]
 v.

 PROASSURANCE CORPORATION,
 PROASSURANCE CASUALTY COMPANY,
 and PROASSURANCE
 INDEMNITY COMPANY, INC.,

               Defendants.

 TO:    Eric S. Poe, Esq.
        214 Carnegie Center Blvd., Suite 301
        Princeton, New Jersey 08540
        Attorneys for Plaintiffs
Case 2:09-cv-06244-WJM-MF          Document 18      Filed 02/18/10     Page 2 of 2 PageID: 66




        PLEASE TAKE NOTICE that on March 15, 2010, at 9:00 am, or as soon thereafter as

 counsel may be heard, the undersigned, attorneys for defendants ProAssurance Corporation,

 ProAssurance Casualty Company, and ProAssurance Indemnity Company, Inc. will move before

 the Court, at the M. L. King, Jr. Federal Building & Courthouse, 50 Walnut Street, Newark, New

 Jersey, for an order compelling arbitration or, in the alternative dismissing the Complaint.

 Defendants shall rely upon the accompanying Brief and Declaration of Michael Dinger. Oral

 argument is requested.


 Dated: February 18, 2010            Respectfully submitted,

                                     STERN & KILCULLEN, LLC
                                     75 Livingston Avenue
                                     Roseland, New Jersey 07068
                                     Telephone: 973-535-1900

    _                                By: /s/ Michael Dinger
    _                                        Jeffrey Speiser
    _                                        Andrew S. Bosin
    _                                        Michael Dinger

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